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                            UNITED STATES DISTRICT COURT
                                         for the
                                Southern District of Texas
                                    Houston Division


RONALD WORTHINGTON           §
Plaintiff                    §
                             §
V.                           §                       Civil Action No.:
                             §
UNITED STATES OF AMERICA AND §
UNITED STATES POSTAL SERVICE §
Defendants                   §



          PLAINTIFF RONALD WORTHINGTON’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Ronald Worthington, hereinafter called Plaintiff, complaining of The United

States of America and The United States Postal Service, hereinafter called Defendants, and for cause

of action would show unto the Court the following:

                                              A.
                                            PARTIES

   1. Plaintiff is Ronald Worthington, a resident of Harris County.

   2. Defendants are The United States of America and The United States Postal Service. Both

       Defendants may be served by serving the The United States Attorney for the Southern

       District and the The Attorney General of the United States.




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                                             B.
                                        JURISDICTION

3.   This Court has jurisdiction over the lawsuit under 28 U.S.C. 1346(b) because the suit involves

     a claim against The United States for personal injury caused by the negligent act of a

     government employee while acting within the scope of her employment.

4.   Venue is proper in the Southern District of Texas pursuant to 28 U.S.C 1391(b)(2) as the

     incident which forms the basis of this claim occurred in Harris County, Texas.

                                         C.
                                CONDITIONS PRECEDENT

5.   On April 19, 2018, Plaintiff submitted an administrative claim for damages to The United
     States Postal Service, demanding $800,000 for damages sustained.

6.   More than 6 months having elapsed, all conditions precedent to the Federal Tort Claims Act
     have been met.

                                               D.
                                             FACTS

7.   On or about October 10, 2017, Ronald Worthington was at a stop on Wright Drive in Harris

     County, Texas, when his vehicle was struck by a vehicle being operated by Iristis Marie

     Cooks.

8.   Iritis Marie Cooks was in the course and scope of her employment with The United States

     Postal Service at the time of the collision.

9.   As a consequence of this collision, Ronald Worthington suffered serious physical injuries

     and mental trauma.




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                                          E.
                                FEDERAL TORT CLAIMS ACT

10.   The collision and the resulting injuries suffered by Ronald Worthington were proximately

      caused by Iristis Marie Cooks’ negligent, careless, and reckless disregard of the duty to control

      her vehicle, to operate her vehicle safely and to obey the traffic laws of the State of Texas.

11.   Those duties were owed to Ronald Worthington and to others similarly situated.

12.   At all times relevant, Iristis Marie Cooks was in the course and scope of her employment with

      The United States Postal Service, and therefore, an agent of the United States of America. The

      United States is therefore liable under the Federal Tort Claims Act and the doctrine of

      respondeat superior.

13.   Iristis Marie Cooks’ negligent conduct, whether by act or omission, included, but was not

      limited, the following:

      a. Iristis Marie Cooks failed to control her vehicle;

      b. Iristis Marie Cooks failed to keep a proper lookout;

      c. Iristis Marie Cooks failed to control her speed.

14.   Each of the aforementioned negligent acts or omissions of Iristis Marie Cooks violated the

      duty or duties she owed Ronald Worthington and constitute negligence and a proximate cause

      of the collision and the resulting damages and injuries to Ronald Worthington.

                                      F.
                        DAMAGES TO RONALD WORTHINGTON

15.   As a direct and proximate result of the occurrence made the basis of this lawsuit, Ronald

      Worthington was caused to suffer personal injuries, including, but not limited to, the

      following:

      (a)     Reasonable medical care and expenses in the past: These expenses were



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             incurred by Ronald Worthington for the necessary care and treatment of the

             injuries resulting from the accident complained of and such charges were

             reasonable for such services.

      (b)    Reasonable and necessary medical care and expenses, that within

             reasonable probability, will be incurred in the future;

      (c)    Loss of earning capacity in the past;

      (d)    Loss of earning capacity in the future;

      (e)    Physical pain and suffering in the past;

      (f)    Physical pain and suffering, that within reasonable probability, will be

             sustained in the future;

      (g)    Mental anguish in the past;

      (h)    Mental anguish that, within reasonable probability, will be sustained in the

             future;

      (i)    Physical impairment in the past;

      (j)    Physical impairment that, within reasonable probability, will be sustained in the

             future; and

      (k)    Incidental Damages and expenses.

16.   As a direct and proximate result of Iristis Marie Cooks’ negligent acts and omissions, Ronald

      Worthington has suffered losses and damages in a sum within the jurisdictional limits of the

      Court, and for the recovery of which this lawsuit is asserted.

17.   Damages are sought for $800,000.




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                                            PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff, Ronald Worthington, respectfully

prays that the United States if America and The United States Postal Service be cited to appear and

answer herein, and that upon final hearing of the cause, judgment be entered for Ronald Worthington

against The United States of America and the United States Postal Service for damages in an amount

within the jurisdictional limits of the Court, together with pre-judgment interest (from the date of

injury through the date of judgment) at the maximum rate allowed by law, post-judgment interest at

the legal rate, costs of court, and such other and further relief to which Ronald Worthington may be

entitled at law or in equity.



                                              Respectfully submitted,

                                              CARRIGAN LAW GROUP, PC

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